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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF FLORIDA

                           GAINESVILLE DIVISION

ACACIA WILLIAMS, DREAM
DEFENDERS, NEW FLORIDA
MAJORITY, ORGANIZE FLORIDA,
TERRIAYNA SPILLMAN, RAY
WINTERS, KATHLEEN WINTERS,                       Case No. 1:20-cv-67-RH- GRJ
and BIANCA MARIA BAEZ

      Plaintiffs,

             v.

RON DESANTIS, in his official
capacity as Governor of the State of
Florida, LAUREL M. LEE, in her
official capacity as Florida Secretary of
State, and FLORIDA ELECTIONS
CANVASSING COMMISSION,

      Defendants.


      PLAINTIFFS’ EMERGENCY MOTION FOR A TEMPORARY
      RESTRAINING ORDER AND PRELIMINARY INJUNCTION

      Pursuant to Federal Rule of Civil Procedure 65(a) and (b), and for the reasons

set forth in the complaint and memorandum submitted herewith, Plaintiffs

respectfully move the Court for a temporary restraining order and a preliminary

injunction enjoining Defendants DeSantis, Lee, and the Florida Elections

Canvassing Commission, to take whatever steps are necessary to implement the
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following measures on a statewide basis and to direct all County Supervisors of

Elections (SOEs) to undertake the following emergency measures to ensure free,

fair, and accessible voting for all Floridians impacted by the coronavirus pandemic:

 (1) Extend deadlines for requesting and returning vote-by-mail ballots.

         a. Extend the deadline to request a vote-by-mail ballot from 10 days

            before the election to March 24, 2020. Although this deadline is after

            Election Day, it is before the date through which counties will be

            counting military and overseas voters’ ballots (March 27), and such an

            extension is necessary to make access to vote-by-mail under these

            emergency circumstances meaningful.

         b. Accept returned vote-by-mail ballots and count them as long as they are

            postmarked by March 24, 2020, or later and are received by March 27,

            2020, the existing deadline for receipt of ballots cast by military and

            overseas voters.

  (2) Expand vote-by-mail options.

         a. Waive the requirement that any individual complete an Election Day

            Vote-by-Mail Ballot Delivery Affidavit as a condition of obtaining a

            vote-by-mail ballot. The present state of emergency establishes every

            voter’s eligibility to obtain their vote-by-mail ballot on or after Election

            Day.


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       b. Allow all voters to request that their ballot be sent to them via e-mail or

          fax, an option currently available only to military and overseas voters.

       c. Provide drop-boxes for the return of vote-by-mail ballots at polling

          sites, and accept ballots returned via drop-boxes regardless of which

          precinct they are returned to.

       d. Allow voters to designate other individuals to return their ballots in

          person, by mail, or via drop-boxes, and waive the current limit of two

          ballots per designee. Currently, designees may collect and return ballots

          only for two voters other than themselves and may only return them in

          person or by mail.

(3) Make polling locations healthy, safe, and accessible for all voters.

       a. Permit voters to vote curbside with a paper ballot.

(4) Communicate critical information to Florida voters.

       a. Require County Supervisors of Elections to contact all voters whose

          polling places have changed as a result of site relocations, to post such

          notices in prominent public areas, such as entrances and exits of the

          closed voting sites, and to station a poll worker at each of these sites to

          alert voters that the polling place has changed.




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         b. Require County Supervisors of Elections update their county websites

             to specifically flag polling places that have changed as a result of site

             relocations.

         c. Develop state-wide public service announcements to be transmitted via

             print, radio, and social media to alert Floridians to the expanded

             opportunities to vote.

      As set forth in detail in the Plaintiffs’ Memorandum of Law in Support of this

Motion for a Temporary Restraining Order and Preliminary Injunction and the

accompanying Declarations of Acacia Williams, Terriayna Spillman, Eva Robinson,

Ray Winters, Kathleen Winters, Bianca Maria Baez, and Rachel Gilmore on behalf

of Dream Defenders, filed herewith, Plaintiffs have established that they are likely

to succeed on the merits of their claims; that they will and other Florida voters will

suffer irreparable harm if the Court does not issue the requested injunction; that the

harm to Plaintiffs and voters outweighs any harm Defendants would suffer if the

Court were to order the emergency preliminary relief sought by Plaintiffs; that the

balance of hardships tips strongly in Plaintiffs’ favor; and that a temporary

restraining order and preliminary injunction in this case advances the clear public

interest. Accordingly, a Temporary Restraining Order should issue forthwith.

      Plaintiffs respectfully request that this matter be set for telephonic oral

argument on an expedited basis.


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Dated: March 16, 2020             Respectfully submitted,
                                  By:   /s/ Kira Romero-Craft
                                        Kira Romero-Craft

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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF FLORIDA

                           GAINESVILLE DIVISION

DREAM DEFENDERS, NEW
FLORIDA MAJORITY, ORGANIZE
FLORIDA, TERRIAYNA
SPILLMAN, ACACIA WILLIAMS,
RAY WINTERS, KATHLEEN                            Case No. 1:20-cv-67-RH- GRJ
WINTERS, and BIANCA MARIA
BAEZ

       Plaintiffs,

              v.

RON DESANTIS, in his official
capacity as Governor of the State of
Florida, LAUREL M. LEE, in her
official capacity as Florida Secretary of
State, and FLORIDA ELECTIONS
CANVASSING COMMISSION,

       Defendants.


          PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT
           OF MOTION FOR A TEMPORARY RESTRAINING
              ORDER AND PRELIMINARY INJUNCTION

      The United States is in the midst of an emergency that threatens not just our

individual health and well-being, but also the health of the most vulnerable members

of our families and communities. No American should be faced with the impossible

choice of having a voice at this critical moment in our democracy and putting
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themself, their family, or their community at grave risk. No American should be

denied the ability to cast a ballot because polling places cannot cope with long lines

and confusion occasioned by the closure of polling sites and the failure to extend

vote-by-mail options. It is crucial that every eligible voter be able to access the ballot

in Florida’s presidential preference primary.

      The State of Florida, in this time of emergency, has failed and refused to

extend the vote-by-mail request and return deadlines or to expand the means by

which individuals may receive and return vote-by-mail ballots. As a result, without

emergency relief ordered by this Court, Plaintiffs will be entirely deprived of the

opportunity to vote in the Presidential Preference Primary, in violation of their rights

under the First and Fourteenth Amendments to the United States Constitution.

                            FACTUAL BACKGROUND
 I.   The Parties

          A. Plaintiffs

      Individual Plaintiffs are Florida voters whose voting plans have been

disrupted by the COVID-19 outbreak and organizations whose members include

such individuals. These voters will therefore be unable to vote in the Presidential

Preference Primary (“PPP”) on Tuesday, March 17, 2020, if the relief sought in this

motion is not granted.




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          Plaintiff Acacia Williams is a student at the University of Florida in

Gainesville, Alachua County, Florida. Her family resides in Sullivan County, New

York. Ms. Williams complied with a directive from the University of Florida to leave

her dorm and not to return to campus until March 30, 2020, due to the coronavirus

outbreak. Ms. Williams is currently at her parents’ home in Sullivan County, New

York, and is unable to travel back to Florida. The coronavirus and its displacement

of students has disrupted Ms. Williams’ plan to vote in person and she is presently

unable to request a vote by mail ballot due to the expired deadline. She would vote

if she could request a vote-by-mail ballot.

          Plaintiff Terriayna Spillman is a student at Bethune-Cookman University in

Daytona Beach, Volusia County. She complied with a directive from the university

not to return to campus until March 30, 2020 due to the coronavirus outbreak. Ms.

Spillman is currently at her parents’ home in Lake County and does not have reliable

transportation back to Daytona Beach. The coronavirus has disrupted Ms. Spillman’s

plan to vote in person and she is presently unable to request a vote by mail ballot

due to the expired deadline. She would vote if she could request a vote-by-mail

ballot.

          Plaintiff Ray Winters is an elderly voter in Miami Dade County who is unable

to vote in Florida’s PPP on March 17, 2020, without severe risks to his health. Mr.

Winters is seventy-eight years old and has heart problems and experiences seizures.


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Mr. Winters had planned to vote in person at his regular polling place, but now, the

risk to his health of potentially being exposed to the virus is too great. He would vote

if he could request a vote-by-mail ballot.

      Plaintiff Kathleen Winters is an elderly voter in Miami Dade County who is

unable to vote in Florida’s PPP on March 17, 2020, without risking her own health

and the health of her husband, Plaintiff Ray Winters. Ms. Winters is sixty-seven

years old, and she and her husband are at a higher risk of severe or fatal outcomes

from COVID-19. Before the emergency created by COVID-19, Ms. Winters had

planned to vote in person at her regular polling place, but now, the risk to her health

and that of her husband is too great to go to the ballot box. She would vote if she

could request a vote-by-mail ballot.

      Plaintiff Bianca Maria Baez is a voter who just returned to the U.S. from an

international trip and, in accordance with public health recommendations, is

practicing social distancing. She is unable to vote in Florida’s PPP on March 17,

2020, without risking her health and that of others in her community. Ms. Baez was

planning to vote in-person however due to her recent travel and the risk of being

asymptomatic while still having the virus presents an undue risk to herself and

members of her community.          Ms. Baez would vote-by-mail if she had the

opportunity to do so.




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      Organizational plaintiffs are non-profit organizations whose missions and or

members interfered with or affected by Defendants’ refusal to extend the voter

registration deadline.

      Plaintiff New Florida Majority, Inc. (“NewFM”) is a Florida non-profit

corporation and membership organization that works with individual members and

organizations across the State of Florida engaged in civic and democratic endeavors

to assist underserved communities in voter registration, voter education and get out

the vote efforts. Defendants’ failure to extend vote-by-mail and other

accommodations during the state of emergency caused by COVID-19 thwarts the

organization’s efforts to increase voter participation and will prevent many of its

members who are registered voters in the State of Florida from voting.

      Plaintiff Dream Defenders is a Florida nonprofit corporation. Dream

Defenders trains and organizes youth and students to confront structural inequality

specifically through civic engagement activities across the State of Florida and get

out the vote efforts. The membership of Dream Defenders includes college students

who have been displaced from their schools due to the coronavirus pandemic. The

State’s failure to offer appropriate accommodations in the PPP in response to the

pandemic continues to thwart the organization’s efforts to secure the participation of

registered Floridians in the election and will prevent many of its members who are

registered voters in the State of Florida from voting.


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      Plaintiff Organize Florida is a community-based, nonprofit member

organization whose membership consists of low- and moderate-income people

dedicated to the principles of social, racial, and economic justice and the promotion

of an equal and fair Florida for all. Organize Florida’s major campaigns have

included supporting children and families and increasing Latinx voter turnout.

Defendants’ failure to extend vote-by-mail and other accommodations during the

emergency caused by the coronavirus outbreak and the State’s failure to take

appropriate steps to accommodate impacted voters hinders the organization’s efforts

to secure voter participation and will prevent many of its members who are registered

voters in the State of Florida from voting.

         B. Defendants

      Defendants are Florida election officials, sued in their official capacity for

their failure to take action necessary to prevent the unconstitutional deprivation of

Plaintiffs right to vote. Defendant Ron DeSantis is sued in his official capacity as

Governor of the State of Florida. As Governor of Florida, Defendant DeSantis is the

State’s chief executive officer and is responsible for the administration of all state

laws, including those pertaining to elections. Defendant DeSantis is also a member

of the Elections Canvassing Commission as established in Florida Statute § 102.111.




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      Defendant Laurel M. Lee is sued in her official capacity as Florida Secretary

of State. Pursuant to Florida Statute § 97.012, the Secretary of State is the chief

elections officer of the State and is responsible for the administration of state laws

affecting voting.

      Defendant Elections Canvassing Commission is sued as a state-created entity.

Its membership consists of the Governor and two members of the Cabinet selected

by the Governor, as set forth in Florida Statute § 102.111. Pursuant to Florida Statute

§ 101.698, the Elections Canvassing Commission is tasked with adopting emergency

rules to facilitate absentee voting during emergency situations.

II.   The Coronavirus (COVID-19) Pandemic

      On December 1, 2019, the first confirmed COVID-19 patient began

experiencing symptoms in China’s Hubei province. Fernando Duarte, Who Is

‘Patient   Zero’     in   the   Coronavirus   Outbreak,    BBC,    Feb.     23,   2020,

www.bbc.com/future/article/20200221-coronavirus-the-harmful-hunt-for-covid-

19s-patient-zero. The novel coronavirus infection rapidly spread to other countries.

By January 21, the Centers for Disease Control and Prevention (CDC) confirmed

the first patient in the United States. Elizabeth Cohen, First US Case of Wuhan

Coronavirus         Confirmed      by    CDC,       CNN,       Jan.       21,     2020,

www.cnn.com/2020/01/21/health/wuhan-coronavirus-first-us-case-cdc-

bn/index.html. There are now at least 1,629 confirmed COVID-19 cases in 46 U.S.


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states and the District of Columbia. Coronavirus Disease 2019 (COVID-19) in the

U.S., Ctrs. for Disease Control & Prevention (updated Mar. 13, 2020),

www.cdc.gov/coronavirus/2019-ncov/cases-in-us.html. The number of actual cases

is likely far higher because effective testing procedures have only slowly become

widely available. Thus far, the outbreak has led to 41 deaths in the United States.

Coronavirus Disease 2019 (COVID-19) in the U.S., Ctrs. for Disease Control &

Prevention, Mar. 13, 2020, www.cdc.gov/coronavirus/2019-ncov/cases-in-us.html.

On Friday, March 13, President Trump declared a national emergency to begin

mobilizing the extraordinary measures necessary to address the rapidly expanding

public health crisis. Transcript: Trump’s Coronavirus News Conference, N. Y.

Times,    Mar.    13,   2020,    www.nytimes.com/2020/03/13/us/politics/trump-

coronavirus-news-conference.html.

      The outbreak has reached Florida. As of today, the Florida Department of

Health has confirmed 149 cases among Floridians, including four deaths. 2019

Novel Coronavirus (COVID-19), Fla. Dep’t of Health, Mar. 15, 2020,

www.floridahealth.gov/diseases-and-conditions/COVID-19/. The true number may

well be much higher. Florida Department of Education Commissioner Richard

Corcoran has urged school districts statewide to keep schools closed for an

additional week of spring break. Florida Department of Education Provides

Recommendations for Spring Break, Fla. Dep’t of Ed., Mar. 13, 2020,


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www.fldoe.org/newsroom/latest-news/florida-department-of-education-provides-

recommendations-for-spring-break.stml. Tens of thousands of Floridians who work

for state agencies have been asked to work from home and to cancel travel for 30

days. Gov. DeSantis Orders 2,500 Coronavirus Test Kits, Asks for Limited Mass

Gatherings, News4Jax, Mar. 12, 2020, www.news4jax.com/health/2020/03/12/gov-

desantis-we-have-to-increase-our-ability-to-test-for-coronavirus/. On Friday, March

13, Secretary Lee released a joint statement with the chief election officials of

Arizona, Illinois, and Ohio, confirming that the scheduled presidential preference

primary election would proceed on Tuesday, March 17, despite the emergent

circumstances. Statement from Arizona, Florida, Illinois and Ohio Chief Elections

Officials on the Status of the March 17th State Primaries, Ohio Sec’y of State, Mar.

13, 2020, www.ohiosos.gov/media-center/press-releases/2020/2020-03-13/. And

just yesterday, the CDC recommended that for the next eight weeks, groups and

individuals throughout the United States cancel or postpone in-person events that

consist of 50 people or more. Interim Guidance for Coronavirus Disease 2019

(COVID-19), Ctrs. for Disease Control & Prevention, Mar. 15, 2020,

www.cdc.gov/coronavirus/2019-ncov/cases-in-us.html. Today, the President’s

Office issued new guidance for the public to avoid all social groupings of 10 or more

people. The President’s Coronavirus Guidelines for America, Mar. 16, 2020,




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https://www.whitehouse.gov/wp-content/uploads/2020/03/03.16.20_coronavirus-

guidance_8.5x11_315PM.pdf.

        The ongoing COVID-19 emergency has disrupted the normal functioning of

this election.

        SOEs have closed, moved or consolidated 112 polling places in 22 counties,

including many at assisted living facilities. The closure of polling places at assisted

living facilities not only affects residents of the facilities but also the non-residents

who vote at those locations. Numerous poll workers may withdraw from

participating in this election due to concerns about the pandemic and following the

CDC’s guidance regarding gatherings of 50 people or more. See, e.g., Anna Bryson,

Coronavirus Florida: Sarasota County Voting Locations Change as Poll Workers

Quit,             Herald-Tribune,               Mar.              14,              2020,

https://www.heraldtribune.com/news/20200314/coronavirus-florida-sarasota-

county-voting-locations-change-as-poll-workers-quit. With a lack of poll workers,

SOEs may close or consolidate yet more polling places. This will inevitably hinder

voters’ ability to access polling sites within reasonable distances of their homes and

will create confusion. Polling places that remain open with fewer poll workers may

experience longer lines with wait times for voters, increasing health risks. Where

SOEs utilize volunteers from other government departments to fill vacant poll

worker positions, the lack of time to fully train those volunteers in election law,


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rules, and procedures may result in the dissemination of inaccurate information to

voters or to eligible voters being wrongfully turned away from the polls. Between

people who can no longer risk going to the polls and those who will face barriers at

the polls due to closures, confusion, and long lines, the extension of vote-by-mail

deadlines and related accommodations are necessary to protect voting rights in

Florida.

                               LEGAL STANDARD

      Plaintiffs seek a Temporary Restraining Order (“TRO”) and a Preliminary

Injunction (“PI”) pursuant to Federal Rule of Civil Procedure 65 (a) and (b), to

enjoin defendants to ensure that all eligible Florida electors whether they be

mandatorily quarantined, self-quarantined, self-distancing, displaced by the

pandemic or otherwise prevented from casting a regular ballot on election day by

the novel corona virus, COVID-19, and who desire to vote in the primary preference

primary election in Florida are able to cast a ballot that counts.

      To prevail on a motion for a TRO and PI, a movant must establish: (1) a

substantial likelihood of success on the merits; (2) that the movant will suffer

irreparable injury in the absence of the requested injunctive relief; (3) that the

threatened harm outweighs the harm that the nonmovant would suffer if the

injunctive relief is issued; and (4) that the injunctive relief would not be adverse to




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the public interest. See Winter v. Natural Resources Defense Council, Inc., 555 U.S.

7, 20 (2008) (setting out the standard for a preliminary injunction); Windsor v.

United States, No. 09-13998, 2010 WL 1999138, at *4 (11th Cir. May 10, 2010)

(noting that the standard for a temporary restraining order is identical to the standard

for a preliminary injunction). “The purpose of a preliminary injunction is to prevent

irreparable injury so as to preserve the court’s ability to render a meaningful decision

on the merits.” United States v. Alabama, 791 F.2d 1450, 1459 (11th Cir. 1986)

(affirming grant of a preliminary injunction).

                                    ARGUMENT

 I.   Plaintiffs Are Likely to Succeed on the Merits of Their Claims.

      Plaintiffs are likely to succeed on the merits of their claim that Florida’s

elections rules, without accommodations for extended vote-by-mail and other vital

changes to ensure ballot access in the midst of the COVID-19 pandemic, places an

undue burden on their right to vote by severely burdening and in some cases totally

denying hundreds of thousands of eligible Florida citizens the opportunity to cast a

ballot that counts in the 2020 presidential preference primary.

      Voting forms “the beating heart of democracy.” League of Women Voters v.

Detzner, 314 F. Supp. 3d 1205, 1215 (N.D. Fla. 2018). But “voting alone is not

enough to keep democracy’s heart beating. . . [V]otes must then be counted.”

Democratic Executive Comm. of Fla. V. Lee, 915 F.3d 1312, 1315 (11th Cir. 2019).


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      In the Eleventh Circuit, a court must evaluate the constitutionality of an

election law challenged under the First and Fourteenth Amendments by applying the

Anderson-Burdick test. Anderson v. Celebrezze, 460 U.S. 780, 789 (1983); Burdick

v. Takushi, 504 U.S. 428, 434 (1992). That test requires the court to weigh the

character and magnitude of the asserted First and Fourteenth Amendment injury

against the state’s proffered justifications for the burdens imposed by the rule, taking

into consideration the extent to which those justifications require the burden to

plaintiffs’ rights. See Anderson, 460 U.S. at 789; Burdick, 504 U.S. at 434.

      A law that severely burdens the right to vote must be narrowly drawn to serve

a compelling state interest. Burdick, 504 U.S. at 434; Democratic Executive

Committee of Fla., 915 F.3d at 1318. Even for a law that “imposes only a slight

burden on the right to vote, relevant and legitimate interests of sufficient weight still

must justify that burden.” Democratic Executive Committee of Fla., 915 F.3d at

1318-19 (citing Common Cause/Ga. v. Billups, 554 F.3d 1340, 1352 (11th Cir.

2009)). The more a challenged law burdens the right to vote, the stricter the scrutiny

to which the law is subjected. Democratic Executive Committee of Fla., 915 F.3d at

1319 (citing Stein v. Ala. Sec. of State, 774 F.3d 689, 694 (11th Cir. 2014) (stating

that challenges to state election laws arising solely under the First Amendment are

governed by Anderson v. Celebrezze)).




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      In Florida Democratic Party v. Scott, this court explained, in the context of

Hurricane Matthew forcing voters to evacuate the State, that there is no Florida

statutory provision allowing for an extension of the voter registration deadline in the

event of an emergency, and that without such a provision, Florida law “completely

disenfranchises thousands of voters, and amounts to a severe burden on the right to

vote.” 215 F. Supp. 3d. 1250, 1257 (N.D. Fla. 2016).

      COVID-19 has placed a severe burden on the right to vote by disenfranchising

thousands of voters. Despite Defendant DeSantis’s own declaration of a state of

emergency on Friday, March 13th, the State has refused to make a reasonable effort

to accommodate the needs of its voting eligible citizens that are quarantined and

voters who need accommodations in order to cast a ballot in light of the global

pandemic and its risks. Absent relief, hundreds of thousands of eligible Floridians

will be prevented from participating in the presidential preference primary election.

The burden this scheme places on thousands of Floridians right to vote greatly

outweighs any proffered justifications the State could put forward, whether under a

more stringent Anderson-Burdick analysis akin to strict scrutiny or under the

intermediate standard. And as this court explained in Florida Democratic Party v.

Scott, even assuming the State of Florida could point to a valid compelling interest,

“it is nonsensical to argue that it is narrowly tailored to that interest” in a




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circumstance where the scheme totally denies eligible voters the opportunity to cast

a ballot as a result of an un expected state emergency. 215 F. Supp. 3d at 1257.

      Similarly, under the Anderson-Burdick standard, the State cannot argue that

some limitation requires it to burden the constitutional rights of aspiring eligible

voters in these circumstances. Nor would the State, given the declared state of

emergency and the potential burden to the state health system, want all eligible

registered voters to show up in person from around the United States, including

asymptomatic individuals who are self-quarantining or practicing social distancing,

to come to the polls to cast a ballot. Finally, even under rational basis review, it “is

wholly irrational in this instance for Florida to refuse to extend the voter registration

deadline when the State already allows the Governor to suspend or move the election

date due to an unforeseen emergency.” Scott, 215 F. Supp. 3d at 1257 (citing §

101.733, Fla. Stat.)

      Under these circumstances, the State’s enforcement of the March 7 vote-by-

mail request deadline and its refusal to allow the delivery of ballots by e-mail or fax

or accommodate voters who are particularly vulnerable to COVID-19 constitute an

undue burden on the right to vote. As a result, Plaintiffs are likely to succeed on the

merits.




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II.    In the Absence of a Restraining Order, Plaintiffs Will Suffer
       Irreparable Harm by Being Permanently Denied the Right to Vote in
       Florida’s 2020 Presidential Preference Primary Election.

   It is plain that Plaintiffs will suffer irreparable injury if a temporary restraining

order is not granted. The State has refused to extend vote-by-mail deadlines, adjust

early voting dates, and expand mail ballot transmission options despite a pandemic

that has forced many Floridians to leave the State, quarantine at home, or avoid

public gatherings—all interrupting ordinary plans to vote in person on Election Day.

Plaintiffs and voters across Florida now face an unenviable choice: brave the polls

and subject themselves to risks the State itself has asked them not to take, or forfeit

their right to vote. Unless they are granted the relief requested, there is a strong

likelihood that the right to vote of thousands of Floridians, including the Individual

Plaintiffs and Organizational Plaintiffs’ members and constituents, will be severely

burdened or eliminated in the 2020 presidential preference primary.

       Because of the crisis created by COVID-19, many Floridians who planned to

vote in person on Election Day, including the individuals who have submitted the

attached declarations, are not able or willing to vote in person at the polls on Tuesday

as they had planned and have now missed the March 7, 2020, deadline to requested

vote-by-mail ballots. Moreover, the President has instructed all persons to avoid

gatherings of 10 persons or more, an instruction many voters would have to disregard

to cast their ballots at the polls.


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      These individuals now have no means of casting a ballot except by appearing

in person at their Supervisor of Elections office to request an emergency vote-by-

mail ballot or appearing and voting in person at their assigned polling place.

      For many of these voters—such as Ms. Robinson, who went to her parents’

home in North Carolina after the University of Florida asked students to leave

campus, and Ms. Williams, who went to her parents’ home in New York under the

same circumstances—neither of these options is practicable because they are not

presently in the State. Ms. Spillman is now at her parents’ home in Lake County

rather than in Volusia County, where she attends Bethune-Cookman University and

where she is registered to vote, because the university directed students not to return.

She lacks transportation to get back to Volusia County because her mother, who

would have to drive her, has been ordered to continue to report to work.

      In addition, the health risks of voting in person are prohibitive for many

voters. Plaintiff Ray Winters is 78 years old, has heart problems, and experiences

seizures. His wife, Plaintiff Kathleen Winters, is 67 years old and must take

precautions to safeguard Mr. Winters’ health as well as her own. Both intended to

vote in person on Election Day, but with the rapidly evolving news about

coronavirus, are now unable to go into the polls without grave risk to their health.

They avoid leaving their home and have even made arrangements to have their

groceries and medication delivered. Meanwhile, Plaintiff Baez is unwilling to risk


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her health or that of others as she recently returned from international travel. Untold

numbers of Floridians who are ill or have health conditions, who live with people

who do, or who are simply committed to social distancing of the sort the country’s

highest government officials have implored all to undertake will be barred from

voting unless they can receive, execute, and return vote-by-mail ballots.

       This is not a case where denial of relief would merely inconvenience

Plaintiffs, declarants, and organizational plaintiffs’ members. Denial of relief would

leave people to risk their health, and the health of the wider community, or to forfeit

their fundamental right to vote and have a voice in their own democracy.

III.   The Harm to Plaintiffs Outweighs Any Burden to the State in
       Accommodating the Situation Caused By the COVID-19 Pandemic.

       If Florida does not provide the requested relief, Plaintiffs and thousands of

Florida voters will be stripped of their most fundamental freedom—the right to vote.

Because any burden on Defendants certainly outweighs the public health and civic

consequences of not taking prompt action, the balance of hardships favors Plaintiffs.

       As this Court said in another state emergency “[o]f course, the State of Florida

has the ability to set its own deadlines and has an interest in maintaining those

deadlines … [b]ut it would be nonsensical to prioritize those deadlines over the right

to vote, especially given the circumstances here.” Scott, 215 F. Supp. 3d at 1258. In

that case, this court was referring to Hurricane Matthew, which ravaged Florida and

left many Florida residents evacuated outside of the state. Here, the COVID-19
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emergency is impacting not just the State of Florida, but the United States, and the

numbers affected in Florida are expected to rise, perhaps dramatically. America’s

chief public health department has issued guidance urging individuals and groups to

cancel or postpone in-person events that consist of 50 people or more throughout the

United States for the next eight weeks. State governments have required persons

showing symptoms of COVID-19 not leave their homes for 14 days. The State of

Florida has issued a state of emergency, as has the United States. The President’s

Office just advised that people not gather in groups of ten or more. There is no

question that under these extraordinary circumstances it is both prudent and

necessary for the State to undertake swift action to ensure that the thousands of

affected Florida residents do not have to choose between their health or the health

of their loved ones and exercising a voice in our democracy.

       Any burden the state might experience in having to extend the mail-ballot

deadline or take the other actions Plaintiffs seek is limited. Even if government

guidance on public gatherings changes, the extension that Plaintiffs request will be

sufficient to allow voters to request and return ballots by mail or via the drop boxes

Plaintiffs seek, providing a full opportunity to participate even for those with severe

limitations on their activities.

       It would be unreasonable to prioritize pre-COVID-19 deadlines over the right

to vote in this extraordinary circumstance.


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IV.   The Requested Relief Is in the Public Interest Because It Will Help
      Protect the Health and Safety of Florida Residents, Assist the State in
      Complying with CDC Guidance During the COVID-19 Pandemic, Help
      Prevent the Spread of a Novel and Deadly Virus, and Safeguard Eligible
      Florida Voters’ Fundamental Right to Vote.
      Defendants cannot provide any colorable justification for their refusal, in light

of the COVID-19 pandemic, to extend the vote-by-mail request and return deadlines

or to expand the mechanisms for delivering vote-by-mail ballots. Plaintiffs’

requested relief is in the public interest because it will help protect the health and

safety of Florida residents by preventing mass gatherings which could expose the

elderly or infirm to the virus. The requested relief assists the State in complying with

CDC guidance during the COVID-19 pandemic, helps prevent the spread of a novel,

deadly virus from overwhelming the State of Florida’s health system, and safeguards

eligible Florida voters’ fundamental right to vote. By every measure, the requested

relief is in the public interest. These voters have already had their lives indefinitely

turned upside down, and they should not have to risk their wellbeing and potentially

their lives to cast a ballot. Ensuring that they can exercise their constitutional right

to vote thus promotes the public interest.

                                   CONCLUSION

      For the foregoing reasons, this Court should enter a Temporary Restraining

Order awarding the requested relief.




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Dated: March 16, 2020             Respectfully submitted,
                                  By: /s/ Kira Romero-Craft
                                         Kira Romero-Craft

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                     CERTIFICATE OF WORD COUNT

      Pursuant to Northern District of Florida Local Rule 7.1(F), I certify that,

according to the word count of the word processing system used to prepare this

document, the foregoing memorandum contains 5,571 words.

                                            /s/ Kira Romero-Craft
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on March 16, 2020, a true and correct copy of the

foregoing motion and memorandum has been furnished to the following parties via

electronic mail:

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